Case 2:04-cr-20311-.]P|\/| Document 170 Filed 06/06/05 Page 1 of 9 PagelD 244

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-v. 2:04CR20311-03-Ml w ”"' 4§1»13“1?;3

ISIAH HANK CONWAY
Wil|iam Gosne|l, Retained
Defense Attorney
245 Exchange Avenue
Memphis, TN 38105

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1, 12, 16 and 38 of the |ndictment on February 28,

2005. According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & section M¢M§e Offense Number(sj
Conc|uded
18 U.S.C. § 371 Conspiracy 05/30/2002 1
18 U.S.C. § 1343 Wire Fraud 04/25/2002 12
18 U.S.C. § 1343 Wire Fraud 05/17/2002 16
18 U.S.C. § 1957 Engaging in illegal l\/ionetary 04/29/2002 38

Transactions

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Count(s) 28, 32, 35-37, 39-40, 44 and 46 dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney forthis district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 09/07/1952 June 3, 2005
Deft’S U.S. Nlarshal No.: 19804-076

Defendant's lVlai|ing Address:
4672 Lindawood
Memphis, TN 38128

This doccment entered on the docket sheet in compliance
with R.¢le 55 and/or ezrc) mch on ' l *

170

Case 2:O4-cr-20311-.]PI\/| Document 170 Filed 06/06/05 Page 2 of 9 PagelD 245

N PHlPPS MCCALLA
ED ATES D|STR|CT JUDGE

June“ @` 2005

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lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 15 Months (or 1 Year and 3 Months) as to Count
1; 15 Months (or 1 Year and 3 Months) as to Count 12; 15 Months (or 1 Vear and 3
Months) as to Count16; 15 Months (or 1 Year and 3 Months) as to Count 38; Counts 1,
12, 16 and 38 are to be served concurrently with each other for a total term of
incarceration of 15 Months (or 1 ‘/ear and 3 Months).

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marsha|.

RETURN

i have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgmentl
UN|TED STATES lViARSHAL
By:

 

Deputy U.S. Niarshai

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Case No: 2.'04CR20311-03-M| Defendant Name: isiah Hani< CONWAY Page 4 of 7

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 ¥ears as to Count 1; 3 Vears as to Count 12; 3 Years as to Count 16; 3
Years as to Count 38. Counts 1, 12, 16 and 38 are to be supervised concurrently with
other for a total period of supervision of 3 ¥ears.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted bythis court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudiciai district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation ofEcer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(‘lO) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer.

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and

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Case No: 2:04CR20311-03-Mi Defendant Name: isiah Hank CONWAY Page 5 of 7
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement oflicer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement.

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Monetary Penaities sheet of this judgment

ADDIT|ONAL CONDIT|ONS OF SUPERV|SED RELEASE

The defendant shall also comply With the following additional conditions of supervised
reiease:

1. The defendant shall seek and maintain full-time empioyrnent.
2. The defendant shall cooperate with DNA collection as directed by the Probation Office.

3. The defendant shall provide third-party notincation.

CR|M|NAL MONETARY PENALTIES

The defendant shall paythe following total criminal monetary penalties in accordance
With the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). Ail of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

 

Total Assessment Total Fine *Tota| Restitution
$400.00 $149,504.00

The Speciai Assessment shall be due immediately

*Restitution is to be aid 'oint and several with co-defendants Teresa Flemin Lorra
Brodenl Benita Rogersl Vencel Martin and Deandrea Robinson in case 2:04CR20311-Mi.

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FlNE
No fine imposed.
*REST|TUT|ON

Restitution in the amount of *§149,504.00 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed beiow.

Priority
Total Amou nt of Order
Name of payee Amount Restitution Ordered or
of Loss Percentage
of Payment
internal Revenue Service, $149,504.00 $149,504.00
FDC P.O. Box 30309,
MF-Stop 831

Memphis, TN 38130
Re: Teresa Fleming & Lorray

Broden case,
Case No. 2:04CR20311

*Restitution is to be paid joint and several with co-defendants Teresa Fieming, Lorray

Broden, Benita Roqers. Vencel Martin and Deandrea Robinson in case 2:04CR20311-M|.

ifthe defendant makes a partial payment each payee shall receive an approximately
proportional payment unless specified othenivise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

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SCHEDULE OF PAYMENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as foilows:

E. Specia| instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income.

Unless the court has expressly ordered othenivise in the special instructions above, if thisjudgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment Ali criminal monetary penalties, except those payments made through the
Federa| Bureau of Prisons' inmate Financiai Responsibiiity Program, are made to the clerk of the
court unless otherwise directed by the court the probation officer1 or the United States attomey.

The defendant shall receive credit for ali payments previously made toward any criminal monetary
penalties imposed.

       

UNITED `sATEs DISTRIC COUR - WESTERN DSRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 170 in
case 2:04-CR-20311 Was distributed by faX, rnail, or direct printing on
June 13, 2005 to the parties listed.

 

 

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Honorable .1 on McCaila
US DISTRICT COURT

